92 F.3d 1182
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lawrence TEARL, Plaintiff-Appellant,v.Doctor Mohamed S. MOUBAREK, M.D.;  Prison Health Services,Incorporated, Defendants-Appellees.
    No. 96-6480.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 23, 1996.Decided Aug. 5, 1996.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frederic N. Smalkin, District Judge.  (CA-95-3701-S)
      Lawrence Tearl, Appellant Pro Se.  Conrad Whiting Varner, Frederick W. Goundry, III, MILES &amp; STOCKBRIDGE, Frederick, Maryland;  Joseph Barry Chazen, Gina Marie Smith, MEYERS, BILLINGSLEY, SHIPLEY, RODBELL &amp; ROSENBAUM, Riverdale, Maryland, for Appellees.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Tearl v. Moubarek, No. CA-95-3701-S (D.Md. Mar. 21, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    